         Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 1 of 7




                                                                                 22-MJ-8076-AFF
                             AFFIDAVIT IN SUPPORT OF COMPLAINT

       I, Lina Awad, having been duly sworn, hereby depose and state:

                                    AGENT BACKGROUND

       1.      I am a Special Agent with United States Immigration and Customs Enforcement’s

Homeland Security Investigations (“HSI”) and have been so employed since February 2009. I am

currently assigned to the Office of the Special-Agent-in-Charge, Boston, Massachusetts. I am

authorized to investigate crimes involving violations of Title 18, Title 8, Title 19, and Title 21 of

the United States Code. I am a graduate of the Federal Law Enforcement Training Center in

Glynco, Georgia, where I received training to become a federal agent. Specifically, I have received

certification in the Criminal Investigator Training Program and the ICE Special Agent Training

Program. I have received training relating to the trafficking in persons, including sex trafficking,

and other offenses.

        2.     I have participated in investigations of human trafficking, human smuggling, alien

harboring, border violations, drug and firearm trafficking, and related offenses. Many of these

investigations have had national or international connections, and many required me to work

closely and share information and intelligence with members of other federal, state, and local law

enforcement agencies. I have debriefed, and continue to debrief, defendants, informants, and

witnesses who have personal knowledge about human trafficking, including sex trafficking, and

other crimes occurring in Massachusetts, nationally, and abroad.

       3.      From my training and experience, I know that individuals are trafficked for several

purposes. Some forms of human trafficking involve involuntary servitude, peonage, debt bondage

and slavery. Victims are often trafficked by force, fraud, and/or coercion. I am familiar with the

federal laws regarding human trafficking, including 18 U.S.C. §§ 1591 and 1594 (Sex Trafficking).
         Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 2 of 7




       4.      This affidavit is submitted in support of a criminal complaint charging Sadeq Ali

QURAISHI with Attempted Sex Trafficking of a Child, in violation of 18 U.S.C. §§ 1591(a)(1),

(b)(2) and 1594(a).

       5.      As described below, there is probable cause to believe that, on November 2, 2022,

in and around the greater Boston area, in the District of Massachusetts, Sadeq Ali QURAISHI did

knowingly attempt to, in and affecting interstate and foreign commerce, entice, obtain, solicit, and

patronize by any means a person, knowing and in reckless disregard of the fact that the person had

not attained the age of 18 years and would be caused to engage in a commercial sex act.

       6.      This affidavit is based on my personal investigation and investigation by others,

including federal and state law enforcement officials whom I know to be reliable and trustworthy.

The facts contained herein have been obtained by conferring with other law enforcement officers

and examining evidence obtained in the course of the investigation as well as through other means.

This affidavit does not include every fact known to me about this investigation, but rather only

those facts sufficient to establish probable cause.

                                   STATEMENT OF FACTS

       7.      Beginning on or about November 1, 2022, law enforcement agents posted an

advertisement (the “Advertisement”) on a website commonly used to advertise commercial sex

acts.1 The Advertisement indicated that the poster was in the area of Boston and Lowell,

Massachusetts. The Advertisement contained images of what appeared to be two young females

and the following language:

                       I AM A WOMAN seeking men

1
 Based on my training and experience, I know that the Internet is global network of computers,
which is a means and facility of interstate commerce. I also know that the website on which the
Advertisement was posted is maintained by an entity that is located outside of the United States,
and the advertisements posted on that website are viewable outside of Massachusetts.

                                                  2
           Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 3 of 7



                        TIGHT, FRESH, and ready for FUN!!
                        Travelin thru town on a lil roadtrip! cum get me while u can
                        2 beautiful flowers that are ready to bloom
                        ask about Fall specials and double trouble discount
                        NO BULLSHIT, NO COPS, 100% Independent

         8.      The Advertisement indicated that the person who would perform commercial sex

acts was 18 years old.2       The Advertisement also contained a contact phone number (the

“Advertisement Number”). Law enforcement agents monitored this line and an undercover agent

(“UC1”) used it to communicate with potential sex buyers, including QURAISHI.

         9.      On or about November 2, 2022, the Advertisement Number received a text message

from a phone number ending in 9824 (the “9824 Number”) in response to the Advertisement.

Thereafter, a text conversation between UC1 and the user of the 9824 Number ensued. UC1 stated

that he/she had two minor girls—ages 12 and 14 years old—available to perform sex acts in

exchange for money. QURAISHI, using the 9824 Number, agreed to pay $250 to have sex with

the fictitious 14-year-old girl. Set forth below are QURAISHI’s text communications with the

undercover agents:3

         9824 Number       Hey there - where around Boston are you hosting?

         UC1               me and my girls are in [Massachusetts town] area tonigt. you wanna play
         9824 Number       Ah shoot - sorry hun I'm heading towards south Boston :( I'll definitely give
                           you a shout to see if you're still around if I'm headed your way soon
         UC1               well think about it. I got 14 yo [Name #1] and 12 yo [Name #2]. Def unique
                           and so much fucking fun
         9824 Number       Uh ... you a cop?
         UC1               No way. just trying to make a living best way we know how.
         9824 Number       Oh ok

2
   The law enforcement agents used a website that is known for containing prostitution
advertisements but requires users to be at least 18 years old. Based on my training and experience,
I know that this website and others like it have been used by traffickers to advertise the commercial
sex acts of children under the age of 18.
3
    Names and specific locations have been omitted.

                                                   3
 Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 4 of 7




UC1           are you. you gotta tell if u are
9824 Number   Heck no!
9824 Number   You threw me off with your text
9824 Number   Sounded like a trap ...
UC1           oh ok. scared me there for sec to
9824 Number   Same here!!!
UC1           sounds trappy i get but like some guys aint in to girsl that young and i just
              putting it out there so u stay cool
UC1           but i assure u even they yunger they are fun and know what they doing
9824 Number   Cool I appreciate that ... backdoor is ok too?
UC1           yeah it $50 and Bri the 14 yo is only one that done that so far. jes may be to
              tight back there
9824 Number   Got it - is Bri the one on the add?
UC1           she is the one in the black shirt yes
9824 Number   You've got me interested ... and you're absolutely not involved with any law
              enforcement in any way?
UC1           fuck no. I was arrested in New mexico once when i was younger. that dont
              count i hope lol
9824 Number   Lol no
UC1           you not a serial killer right?
9824 Number   Fuck no!
9824 Number   So the total for a visit with the backdoor is?
UC1           1 or both. how long
9824 Number   1 for hh
UC1           which one baby
9824 Number   I thought only one of them was able to do backdoor?
UC1           just checking
UC1           so that’s [Name #1]. She does do that. Half hour with her is $150, $50 extra
              for anal. so $200. If you doing bare. it $250
9824 Number   Ok let's go for option #3 lol
UC1           LMAO. So bare for $250. u clean right?
9824 Number   Yes!
UC1           k cool. like what time u thinking baby
9824 Number   Around 2?
UC1           you in [Massachusetts town] area. i send u address when u closer.
UC1           just safety u know
9824 Number   I'm in east Boston so a ways away
UC1           You at a hotel or home?
UC1           well how fast u drive lol. and a hotel. we keep it low key for sure.
9824 Number   Gimme a general idea where ... several exists to get to [Massachusetts town]
UC1           so like [Street #1] and [Street #2]
9824 Number   Ok good
                                    4
 Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 5 of 7




UC1           so u like on your way
9824 Number   Leaving in 5 min
9824 Number   Would never have done this if you were not so persuasive
UC1           oh ok. lol.
UC1           let me know when on your way and i got idea when have her ready.
UC1           i think you are having one of your dreams come true
9824 Number   I don't know ... I think everyone has fantasies but this seems a little over the top
UC1           nah its all natural
9824 Number   Hey you've been super nice and I appreciate it ... just the age thing is throwing
              me ... if you were to tell me she's 16 or older and just looks young enough to
              pass off for 14 that would be a different thing
UC1           its alright. i mean you can pretend if you want, but thats why i kee it realz.
              case peeps dont like it. shame. you were sweet but i get it
9824 Number   Thanks appreciate it. I'm all about having fun but this would just add an extra
              layer of guilt I defiantly don't need. Take care and be safe.
UC1           there is no guilt sex is a naruaal thing, but no worries. text later is you change
              mind
9824 Number   Cool thanks
9824 Number   Ugh ... man you're making things difficult - seems like a fun experience ... just
              not in the mood to get arrested today
UC1           well i dont plan on arresting you so as long as you are cool, its alright baby
UC1           we just trying to make a living is all
9824 Number   Ok I'm on my way
UC1           babe you are awesome. How long
9824 Number   30-35 min
UC1           [smiling face emoji]
9824 Number   Ok ... I’m trusting you
UC1           i get it. same here sweetie
UC1           dont forget cash ok and thanks
9824 Number   Yup got it
UC1           you getting close babe. [Name #1] is getting ready right now.
9824 Number   6 miles from [Massachusetts town]
UC1           cool
9824 Number   10 min away
9824 Number   Where am I going?
UC1           [Name #1] is all ready for you.
9824 Number   Where?
UC2           [hotel] hun I’ll meet u outside
9824 Number   Ok
UC2           U need me to send address?
9824 Number   Nope I'm in the parking lot
UC2           I dont see u . . . standing outside by the side door

                                     5
         Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 6 of 7




       9824 Number           Where should I meet you?
       9824 Number           Who should I be looking for?
       UC2                   Come to the side door hun dont wanna be going thru the front
       9824 Number           Ok
       UC2                   Are u at the right hotel?
       9824 Number           387
       UC2                   387 [street]
       UC2                   Yeah ouside in the parking lot there is a big blue trash dumpster here
       9824 Number           Yup walking to the back


        10.        Shortly thereafter, QURAISHI arrived at a hotel in the greater Boston area.4 At the

hotel, there was another undercover agent (“UC2”), who was posing as the person who posted the

Advertisement and the user of the Advertisement Number. UC2 and QURAISHI met in the hotel’s

parking lot. UC2 asked QURAISHI to show UC2 the cash to be paid for the commercial sex act.

QURAISHI flashed a wad of cash from his pocket and showed it to UC2. UC2 gave QURAISHI

a hotel key card and told him “no rough stuff” with her daughters. QURAISHI acknowledged

UC2’s request.

        11.        Following the exchange of the cash and the foregoing discussion, law enforcement

officers arrested QURAISHI and took him into custody. Incident to arrests, law enforcement

agents searched QURAISHI and found a cell phone. An agent called then called the 9824 Number

and observed that the cell phone they seized from QURAISHI rang.

        12.        QURAISHI is an anesthesiologist at Tufts Medical Center. During a post-arrest

interview, and after being advised of his Miranda rights, QURAISHI indicated he has purchased

sex in the past.




4
 The hotel is part of a national chain of hotels. Based on information provided by hotel staff, I
know that the hotel has served out-of-state guests.

                                                    6
         Case 1:22-mj-08076-PGL Document 1-1 Filed 11/02/22 Page 7 of 7




                                         CONCLUSION

       13.     Based on the foregoing, I respectfully submit that there is probable cause to support

a criminal complaint charging Sadeq Ali QURAISHI with Attempted Sex Trafficking of a Child,

in violation of 18 U.S.C. §§ 1591(a)(1), (b)(2) and 1594.

                         FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                                             ______________________________
                                                             Lina Awad, Special Agent
                                                             Homeland Security Investigations


Attested to by the applicant in accordance
with the requirements of Fed. R. Crim. P. 4.1
by phone, on this 2nd day of November 2022,
at Boston, MA.


_______________________________________
HONORABLE PAUL G. LEVENSON
UNITED STATES MAGISTRATE JUDGE




                                                 7
